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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

   UNITED STATES OF AMERICA

   v.                                                 Case No.: 8:08-cr-482-T-33MAP

   FRANCISCO PEREZ
   ______________________________/

                       PRELIMINARY ORDER OF FORFEITURE

          Before the Court is the United States' Motion for a Preliminary Order of

   Forfeiture (the “Forfeiture Motion,” Doc. 114), which, at sentencing, shall be a final

   Order as to Defendant, Francisco Perez's right, title, and interest in the 2005 Nissan

   Titan truck, Vehicle Identification Number: 1N6BA07B95N536725 (the “Vehicle”).

          Being fully advised of the premises, the Court finds that:

          The United States has established the requisite nexus between the offense in

   violation of 21 U.S.C. §§ 846 and 841(b)(1)(B)(vii), to which the Defendant, Francisco

   Perez pled guilty in Count One of the Superseding Indictment and the Vehicle. Thus,

   the United States is now entitled to possession of the Vehicle, pursuant to the

   provisions of 21 U.S.C. § 853 and Fed. R. Crim. P. 32.2(b)(2).

          Accordingly, it is hereby

          ORDERED, ADJUDGED and DECREED that:

          1.     The Forfeiture Motion (Doc. 114) is GRANTED.

          2.     All right, title and interest of Defendant, Francisco Perez in the Vehicle
                 is hereby condemned and forfeited to the United States for disposition
                 according to law, subject to the provisions of 21 U.S.C. § 853.

          3.     Following entry of this Order, the United States, pursuant to
                21 U.S.C. § 853(n) [incorporated by 28 U.S.C. § 2461(c)], will provide
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                   written notice to all third parties known to have an alleged legal interest
                   in the Vehicle and will publish notice on the internet at
                   www.forfeiture.gov. The United States may also, to the extent
                   practicable, provide direct written notice to any person known to have
                   alleged an interest in the Vehicle, as substitute for published notice as
                   to those persons so notified.

         4.        Any person, other than Defendant, Francisco Perez, who has or
                   claims any right, title or interest in the Vehicle must file a petition with the
                   Court for a hearing to adjudicate the validity of his or her alleged interest.
                   Within thirty (30) days of the final publication of notice or of receipt of
                   actual notice, whichever is earlier, the petition should be mailed to:

                          The Clerk of the United States District Court
                                         Tampa Division
                                  801 North Florida Avenue
                                    Tampa, Florida 33602.

         5.        The petition shall be signed by the petitioner under penalty of perjury,
                   and shall set forth the nature and extent of the petitioner's right, title, or
                   interest in the Vehicle, any additional facts surrounding the petitioner's
                   claim, and the relief sought.

         6.        After receipt of the petition, the Court will set a hearing to determine the
                   validity of the petitioner's alleged interest in the Vehicle.

         7.        Upon adjudication of all third-party interests in the Vehicle, the Court will
                   enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853(n)(7),
                   addressing all interests.

         DONE and ORDERED from Chambers in Tampa, Florida, this 19th day

   of June 2009.




   Copies to:      Counsel of Record



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